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                                             No. 21-1187

                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT
                                                                                _

                                          J.O.P., et al.,
                                      Plaintiffs - Appellees,

                                                  v.

                  U.S. DEPARTMENT OF HOMELAND SECURITY, et al.,
                              Defendants – Appellants.
                                                                                _

             DEFENDANTS-APPELLANTS’ UNOPPOSED MOTION TO
                     VOLUNTARILY DISMISS APPEAL

              Pursuant to Federal Rule of Appellate Procedure 42(b)(2) and the Parties’

        settlement agreement approved by the U.S. District Court for the District of

        Maryland on November 25, 2024, Defendants-Appellants’ hereby move to

        voluntarily dismiss this appeal.

              On November 26, 2024, undersigned counsel conferred with Plaintiffs-

        Appellees’ counsel, who stated that they do not oppose Defendants-Appellants’

        motion.
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        Dated: November 27, 2024         Respectfully Submitted,

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                                         Principal Deputy Assistant
                                         Attorney General
                                         Civil Division

                                         WILLIAM C. PEACHEY
                                         Director
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                                         /s/Richard G. Ingebretsen
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                  CERTIFICATION OF COMPLIANCE AND SERVICE

               I hereby certify that the body of this report, including footnotes, contains
        55 words, thereby satisfying the 5,200-word limit in Fed. R. App. P. 27(d)(2)(A).
        I further certify that this report complies with the typeface and type-style
        requirements of Fed. R. App. P. 27(d)(1)(E) by using Microsoft Word’s Times
        New Roman 14-point font.

               I further certify that on November 27, 2024, I caused a copy of this status
        report to be served, by the Notice of Docketing Activity generated by the Fourth
        Circuit’s electronic filing system, on counsel of record.

        Dated: November 27, 2024

        s/ Richard G. Ingebretsen
        Richard G. Ingebretsen
        Trial Attorney
